            Case 2:15-bk-54185                        Doc 4          Filed 06/26/15 Entered 06/26/15 11:59:43              Desc Main
                                                                     Document      Page 1 of 1

B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                      Southern District of Ohio
 In re      Thomas J. Egelhoff                                                                              Case No.
                                                                                   Debtor(s)                Chapter    7


                                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 -NONE-

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                               Describe Leased Property:                 Lease will be Assumed pursuant to 11
 -NONE-                                                                                                 U.S.C. § 365(p)(2):
                                                                                                           YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date June 26, 2015                                                    Signature   /s/ Thomas J. Egelhoff
                                                                                   Thomas J. Egelhoff
                                                                                   Debtor




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
